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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                            CIVIL ACTION NO. 3:18-cv-437-DJH



    NAVIGATORS INSURANCE COMPANY                                              PLAINTIFF

    v.

    UNIVERSITY OF LOUISVILLE
    FOUNDATION, INC.; JAMES R. RAMSEY
    KATHLEEN SMITH; BURT DEUTSCH;
    MICHAEL CURTIN; and JASON
    TOMLINSON                                                             DEFENDANTS

    v.

    R.H. CLARKSON INSURANCE GROUP                                         THIRD PARTY
                                                                          DEFENDANTS


     THIRD PARTY DEFENDANT R.H. CLARKSON’S MOTION TO DISMISS, IN
    PART, THIRD PARTY PLAINTIFF’S AMENDED THIRD PARTY COMPLAINT

           Third Party Defendant R.H. Clarkson Insurance Group (“R.H. Clarkson”)

    pursuant to Fed. R. Civ. P. 12(b)(6), by and through counsel, hereby submits its Motion

    to Dismiss in part, Defendant/Third Party Plaintiff University of Louisville Foundation,

    Inc.’s Amended Third Party Complaint on the grounds that Count I for fraud, fails to

    state a claim upon which relief can be granted.

           A memorandum of law in support of this motion and a proposed Order
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    accompany this motion is attached and incorporated by reference.

                                                 Respectfully submitted,

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                                                 Lexington, Kentucky 40513
                                                 Telephone: (859) 243-0228
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                                           By: /s/ Lisa J. Fauth
                                                LISA J. FAUTH




                                 CERTIFICATE OF SERVICE

            I hereby certify that on this 17th day of December, 2018, I electronically filed the
    foregoing with the Clerk of the Court by using the CM/ECF system, which will send a
    notice of electronic filing to the following:



           Jeremy S. Rogers, Jeremy.rogers@dinslaw.com
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                                                 /s/ Lisa J. Fauth
                                                 LISA J. FAUTH




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